
The Supreme Court affirmed the judgment of the Common Pleas on April 21st, 1884, in the following opinion:
Per Curiam.
Rule XXIII of this Court declares “when error is assigned to the charge of the Court, or to answers to points, the part of the charge, or the points and answers referred to, must be quoted totidem verbis, in the specfication.” RULE XXIV declares inter alia, “Any assignment of error not according to the last rule will be held the same as none.” All the assignments of error in this case are to the charge of the Court, yet no one of them quotes the charge or any portion thereof. These rules are not new. They have been in force many years. Their enforcement is necessary to the reasonable ckspatch of business.
Judgment affirmed.
